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AO 91 (Rev. 11/11) Criminal Complaint United States District Court
FILED
UNITED STATES DISTRICT COURT 6 2001
for the . FEB 16 202
Southern District of Texas : Nathan Ochsner, Clerk
United States of America )
V. )
Victor Hugo Gazca-Hernandez; ) Case No. 7:21mj365-1
YOB: 1986 (MEX) )
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 15, 2021 in the county of Starr in the
Southern District of Texas , the defendant(s) violated:
" Code Section Offense Description
21 USC 841 Conspiracy to Possess with the Intent to Distribute and Possession with the
21 USC 846 Intent to Distribute Marijuana, approximately 338 kilograms, a schedule |

controlled substance.

This criminal complaint is based on these facts:

(See Attachment I).

Submitted by reliable electronic means, sworn to and attested to telephonically per Fed.R.Cr.P.4.1. and probable
cause:

a Continued on the attached sheet.

/S/ Christopher Donahue
Approved by AUSA Patricia Profit

 

Complainant’s signature

Christopher Donahue, DEA Special Agent

Printed name and title

Date: 2 1e|202/ BoaP DL...
Judge's signature
City and state: McAllen, Texas cottHacker, U.S. Magistrate Judge

i~ / Printed name and title

 

 
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ATTACHMENT 1 |

On February 15, 2021, at approximately 8:45 a.m., a U.S. Border Patrol Agent (BPA) observed a

black SUV travel towards the Rio Grande River, in the area known to agents as the| Los Puertos

Boat Ramp, in the La Casita community of Rio Grande City, Texas. The Los Puertos|Boat Ramp a
area is frequently utilized by smugglers as a pick up location for narcotics that are illegally

crossed into the U.S. Approximately two (2) to three (3) minutes later, the BPA observed the

black SUV travel north from the river towards U.S. Expressway 83. Soon thereafter, responding

BPAs observed a black SUV travelling north from the border and make an abrupt turn onto.a dirt

road. As BPAs attempted to make contact with the black SUV, the driver of the SUV abandoned

the vehicle and absconded north through a thick brushy area. .

After searching the nearby area for approximately fifteen (15) minutes, BPAs apprehended the
SUV's driver after he was observed low crawling through the brush approximately.200 yards
north of the black SUV. The SUV's driver was subsequently identified as Victor GAZCA-
HERNANDEZ (hereafter, GAZCA). . of

BPAs subsequently located 17 bundles of suspected marijuana in the SUV that was abandoned

by GAZCA. The bundles were processed at the Border Patrol Station, weighed approximately 338 .
kilograms, and contained suspected marijuana. A field test was conducted on a sample from one
(1) of the bundles and tested positive for the characteristics and properties of marijuana.

On February 15, 2021, agents conducted a post-arrest Mirandized interview of GAZCA. During .
the interview, GAZCA admitted to participating in the smuggling attempt. GAZCA stated that on
February 15, 2021, he illegally crossed into the U.S. GAZCA stated that upon crossing into U.S.,
he was instructed to enter the black SUV which was parked in the area of the Rio Grande River
and drive the SUV to an unknown location. GAZCA stated that upon entering the black SUV, he
observed several bundles in the SUV. GAZCA stated that while driving north from the border, he
was on the phone with an unknown person who was giving him instructions. GAZCA stated that
he was going to be paid an unknown amount of money to drive the SUV containing the bundles.
